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                               Extension and Amendment of
                 Contract for Purchase of Property and Redemption Rights
       This Agreement entered into this 13 th day of December, 2023 by and between Duaglo,
LLC, a kansasa limited liability company, and Michael Capps, in consideration of the recitals
and the mutual covenants contained herein.

        WHEREAS, Duaglo and Capps are parties to that certain Contract for Purchase of
Property and Redemption Rights fully executed August 28, 2023 covering the prope1ty described
as follow:

       LOT 4, BLOCK 2, COTTONWOOD VILLAGE SIXTH ADDITION TO
       WICHITA, SEDGWICK COUNTY, KANSAS, commonly known as 3103 N
       Govemeour Street, Wichita, Kansas,

        WHEREAS, Capps is the subject of a Judgment in a Criminal Case in the US Disu-ict
Court for the District of Kansas Case Number 6:21CR10073-001, entered Mny 121 2023 (the
"JudgmenC'), and also is subject to Notice of Lien for Fine and-ori Restitution imposed pursuant
to the Anti-Terrorism and Effective Death Penalty Act of 1996 f led by the United States of
America August 18, 2023 in the office of the Register of Deeds, Sedgwick County, Kansas
December 13, 2023 and recorded therein as Document 30258403 and 30258404 (the "Notice of
Lien").

        WHEREAS, Duaglo and Capps assert that the provisions of Kansas State Law,
specifically K.S.A. 60-2414(k), deprive the United States of America of any property interest to
in the above-described property; and that the claim of the United States of America, if any it may
have, may be made solely to the proceeds of Capp arising from the sale of the Prope1ty by
Capps.

       WHEREAS, Duaglo and Capps have entered into an Contract for Purchase of Property
and Redemption Rights by which Capps has agreed to sell to Duaglo the Property and Duaglc
has agreed to redeem the Prope.1ty from the pending foreclosure in Sedgwick County Case No 22
CV-000936, subject to a simultaneous Kansas Real Estate Purchase Contract dated August 28,
2023, in which Duaglo agrees to resell the Property to Capps and Capps agrees to repurchase the
Property for a price of $167,708.59 for further transfer by Capps in a sale to a third party (the
"Closing"). The Closing is to be conducted on or after December 14, 2023 by Security I si Title
Company, Inc. ("Security 1 st").

         WHEREAS, the United States has agreed a) that Duaglo may be paid out of the Closing
the amount paid by Duaglo to redeem the Property from foreclosure in the amount of
$155,027.04, on the condition that the sale and repurchase right be limited to $155,027.04 and b)
to file a Partial Release of Judgment Lien that releases the Property from the lien of the
Judgment in exchange for the deposit of all funds "due to Seller" at Closing into an escrow with
Security P1 to be held pending agreement of the pai1ies or entry of an order of a court with



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